Case 20-11393-pmm        Doc 23     Filed 07/07/20 Entered 07/07/20 12:27:29       Desc Main
                                    Document Page 1 of 1




                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   In Re:                                           : Bankruptcy No. 20-11393-PMM
   Rocky Schreck                                    : Chapter 13
                           Debtor                   :
                                                    :
   U.S. Bank National Association, not in its       :
   individual capacity, but solely as trustee of    :
   NRZ Pass-Through Trust XIV c/o Fay               :
   Servicing, LLC                                   :
                          Movant                    :
                  vs.                               :
                                                    :
   Rocky Schreck                                    :
                        Debtor/Respondent           :
                 and                                :
   Scott F. Waterman, Esquire                       :
                        Trustee/Respondent          :


                                             ORDER

                           7th day of ___________________,
           AND NOW, this ____          July                      2020, upon the Motion of
   Movant U.S. Bank National Association, not in its individual capacity, but solely as
   trustee of NRZ Pass-Through Trust XIV c/o Fay Servicing, LLC, it is hereby:

          ORDERED THAT: the Motion is granted as to Movant and its successors, if any,
   and the Automatic Stay of all proceedings, as provided under 11 U.S.C. § 362 of the
   Bankruptcy Code is modified and lifted with respect to the premises, 1410 Krumsville
   Road, Lenhartsville, PA 19534, and it is hereby

          FURTHER ORDERED THAT: Movant may offer and provide Debtor with
   information re: a potential Forbearance Agreement, Loan Modification, Refinance
   Agreement, or other Loan Workout/Loss Mitigation Agreement, and may enter into such
   agreement with Debtor. However, Movant may not enforce, or threaten to enforce, any
   personal liability against Debtor if Debtor’s personal liability is discharged in this
   bankruptcy case.


                                             ____________________________________
                                                 Honorable Patricia M. Mayer
                                                 U.S. Bankruptcy Judge
